              Case:21-15740-KHT Doc#:1 Filed:11/18/21                                  Entered:11/18/21 15:01:04 Page1 of 9


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Nitro Holdings, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2580 E. Harmony Road Suite 301
                                  Fort Collins, CO 80528
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Larimer                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case:21-15740-KHT Doc#:1 Filed:11/18/21                                       Entered:11/18/21 15:01:04 Page2 of 9
Debtor    Nitro Holdings, LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2382

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
               Case:21-15740-KHT Doc#:1 Filed:11/18/21                                           Entered:11/18/21 15:01:04 Page3 of 9
Debtor    Nitro Holdings, LLC                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      Nitrocrete, LLC                                               Relationship               Subsidary

                                                     District    Colorado                     When      11/18/21               Case number, if known      21-15739-KHT


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
             Case:21-15740-KHT Doc#:1 Filed:11/18/21                          Entered:11/18/21 15:01:04 Page4 of 9
Debtor   Nitro Holdings, LLC                                                           Case number (if known)
         Name


16. Estimated liabilities      $0 - $50,000                               $1,000,001 - $10 million              $500,000,001 - $1 billion
                               $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
              Case:21-15740-KHT Doc#:1 Filed:11/18/21                                    Entered:11/18/21 15:01:04 Page5 of 9
Debtor    Nitro Holdings, LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 18, 2021
                                                  MM / DD / YYYY


                             X   /s/ Stephen De Bever                                                     Stephen De Bever
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Matthew T. Faga                                                       Date November 18, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew T. Faga
                                 Printed name

                                 Markus Williams Young & Hunsicker LLC
                                 Firm name

                                 1775 Sherman Street, Suite 1950
                                 Denver, CO 80203
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     303 830-0800                  Email address      MFaga@markuswilliams.com

                                 41132 CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case:21-15740-KHT Doc#:1 Filed:11/18/21                                           Entered:11/18/21 15:01:04 Page6 of 9


 Fill in this information to identify the case:
 Debtor name Nitro Holdings, LLC
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Daniel Schauer                                                                                                      $51,498.00                        $0.00              $51,498.00
 S86 W27550
 Lakeview Lane
 Mukwonago, WI
 53149
 Drew R. Nelson Trus                                                                                             $2,426,507.00                         $0.00          $2,426,507.00
 t No. 2                         jgerber2002@gmail
 Justin Gerber,                  .com
 Trustee
 3641 Laduke Street
 Bozeman, MT 59718
 Drew R. Nelson Trus                                                                                                $154,986.00                        $0.00            $154,986.00
 t No. 2                         jgerber2002@gmail
 Justin Gerber,                  .com
 Trustee
 3641 Laduke Street
 Bozeman, MT 59718
 Kathleen M.                                                                                                         $53,922.00                        $0.00              $53,922.00
 Johnston                        kwalton@nitrocret
 7900 Eagle Ranch                e.com
 Road
 Fort Collins, CO
 80528
 Mark                                                                                                            $1,348,059.00                         $0.00          $1,348,059.00
 E. Nelson Trust No.             dnelson@nitrocret
 2                               e.com
 Justin Gerber,
 Trustee
 3641 Laduke Street
 Bozeman, MT 59718
 Michael R. Schauer                                                                                                  $26,961.00                        $0.00              $26,961.00
 1                               mschauer@nitrocr
 1554 Quail Hollow               ete.com
 Drive
 Fort Collins, CO
 80525




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                 Case:21-15740-KHT Doc#:1 Filed:11/18/21                                           Entered:11/18/21 15:01:04 Page7 of 9



 Debtor    Nitro Holdings, LLC                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Michael R. Schauer                                                                                                  $26,947.00                        $0.00              $26,947.00
 2                               mschauer@nitrocr
 1554 Quail Hollow               ete.com
 Drive
 Fort Collins, CO
 80525
 NDTCO as                                                                                                           $107,242.00                        $0.00            $107,242.00
 custodian FBO                   schauer.tj@gmail.c
 Thomas Schauer IR               om
 1039 Nightingale
 Drive, Unit 6
 Fort Collins, CO
 80525
 Ogletree Deakins                                                                                                                                                           $1,224.00
 P.O. Box 89
 Columbia, SC 29202
 Rita Burns                                                                                                                                                               $51,498.00
 2545 N. Murray
 Avenue
 Milwaukee, WI
 53211
 RMS US LLP                                                                                                                                                                 $1,260.00
 5155 Paysphere
 Circle
 Chicago, IL 60674
 Sandy Gabriel                                                                                                                                                            $80,966.00
 Carrero
 10788 Lemon Lake
 Blvd.
 Orlando, FL 32836
 Tad M. Johnson                                                                                                                                                         $431,708.00
 S74W12936
 Courtland Lane
 Muskego, WI 53150
 Thomas Schauer                                                                                                      $53,922.00                        $0.00              $53,922.00
 1070 W. Century                 schauer.tj@gmail.c
 Drive                           om
 Louisville, CO 80027
 Thomas Schauer                                                                                                      $53,607.00                        $0.00              $53,607.00
 1070 W. Century                 schauer.tj@gmail.c
 Drive                           om
 Louisville, CO 80027
 Thomas Schauer                                                                                                      $51,676.00                        $0.00              $51,676.00
 1070 W. Century                 schauer.tj@gmail.c
 Drive                           om
 Louisville, CO 80027
 TN Family LLC                                                                                                      $539,224.00                        $0.00            $539,224.00
 Mark Nelson,                    mnelson@nitrocret
 Manager                         e.com
 6325 Ridgewood Dr.
 Fort Collins, CO
 80524


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
            Case:21-15740-KHT Doc#:1 Filed:11/18/21                                           Entered:11/18/21 15:01:04 Page8 of 9

                                                               United States Bankruptcy Court
                                                                          District of Colorado
 In re      Nitro Holdings, LLC                                                                                       Case No.
                                                                                     Debtor(s)                        Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 MC Nitro, LLC                                                       Class A           7000                                      Units
 5251 DTC Parkway, Suite 995
 Greenwood Village, CO 80111

 Nitro Founders II, LLC                                              Class B           3000                                      Units
 2580 E. Harmony Road Suite 301
 Fort Collins, CO 80528

 Nitro Management Holdings, LLC                                      Class P           11704.91                                  Units
 2580 E. Harmony Road Suite 301
 Fort Collins, CO 80528

 Stephen De Bever                                                    Class A-1         166.67                                    Units
 4448 Grand Park Dr.
 Timnath, CO 80547


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date November 18, 2021                                                          Signature /s/ Stephen De Bever
                                                                                            Stephen De Bever

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case:21-15740-KHT Doc#:1 Filed:11/18/21                                    Entered:11/18/21 15:01:04 Page9 of 9




                                                               United States Bankruptcy Court
                                                                      District of Colorado
 In re      Nitro Holdings, LLC                                                                     Case No.
                                                                                Debtor(s)           Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       November 18, 2021                                       /s/ Stephen De Bever
                                                                     Stephen De Bever/CEO
                                                                     Signer/Title




Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
